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(determining, that “the burden of discovery on Defendants in this case weigh[ed] in favor of a
stay” when defendants moved to stay discovery pending determination of a motion to dismiss for
lack of standing.)

          Here, as in Renois and Al Thani, there is a fully briefed and pending Motion to Dismiss
the entire case on a threshold issue of law. Defendants argue in their Motion to Dismiss that
plaintiffs have not sufficiently alleged a concrete injury sufficient to confer standing under
Article III under the Supreme Court’s decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190,
2197, 210 L. Ed. 2d 568 (2021). In Packer on behalf of 1-800 Flowers.com, Inc. v. Raging
Capital, --- F. Supp. 3d ---, 15-CV-05933 (JMW), 2023 WL 2484442, at *8 (S.D.N.Y. Mar. 13,
2023), the court dismissed a similar claim brought under Section 16 on standing grounds,
explaining among other things, that there “no reason why . . . TransUnion’s Article III standing
principles would not apply to securities statutes such as Section 16(b).” Thus, Defendants’
motion is clearly viable and has the potential to dispose of the entire matter.

        Moreover, no prejudice would result from a stay here because plaintiffs have conceded
that they initially voluntarily dismissed this case and only recently re-filed it pending a decision
in the Packer appeal, which will clarify the law on Article III standing in Section 16 cases in this
Circuit. Indeed, plaintiffs noted in their Complaint that this lawsuit was initially “voluntarily
discontinued without prejudice to await development of the law of Article III standing in §16(b)
suits … [underway in] an unrelated appeal pending in the Second Circuit.” (Compl. ¶ 11). The
Packer appeal will, among other things, resolve a split among the district courts with respect to
the effect of the Supreme Court's decision in TransUnion on what must be pled to allege a
Section 16 claim. Compare Avalon Holdings Corp. v. Gentile, 16-cv-7291 (DLC), 2023 WL
4744072 (S.D.N.Y. July 25, 2023) with Packer, 2023 WL 2484442, at *8. The Second Circuit is
routinely called upon to resolve splits among district courts. See, e.g., Rombach v. Chang, 355
F.3d 164, 171 (2d Cir. 2004). In Packer, the parties appellate briefs were fully submitted on
October 12, 2023, and oral argument has not yet been scheduled. Given the posture of this case
and the appeal, staying discovery will result in no prejudice to plaintiffs. Indeed plaintiffs have
indicated that they support Defendants’ motion seeking a discovery stay.

       In light of these considerations, we respectfully request that the Court grant a stay of
discovery during the pendency of Defendants’ motion to dismiss.



                                                      Respectfully Submitted,

                                                      /s/ Theodore J. Hawkins

                                                      Theodore J. Hawkins
cc: all counsel of record (via ECF)




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